     Case 4:19-cv-07123-PJH       Document 396-7    Filed 09/27/24    Page 1 of 9




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      LIMITED and Q CYBER TECHNOLOGIES LIMITED
 7
                                 UNITED STATES DISTRICT COURT
 8
                                NORTHERN DISTRICT OF CALIFORNIA
 9
                                       OAKLAND DIVISION
10

11    WHATSAPP INC., a Delaware corporation,       Case No. 4:19-cv-07123-PJH
      and FACEBOOK, INC., a Delaware
12    corporation,                                 DECLARATION OF AARON S. CRAIG
                                                   IN SUPPORT OF DEFENDANTS NSO
13                Plaintiffs,                      GROUP TECHNOLOGIES LIMITED
                                                   AND Q CYBER TECHNOLOGIES
14          v.                                     LIMITED’S ADMINISTRATIVE
                                                   MOTION TO FILE UNDER SEAL
15    NSO GROUP TECHNOLOGIES LIMITED
      and Q CYBER TECHNOLOGIES LIMITED,
16                                                 Action Filed: 10/29/2019
                  Defendants.
17

18
                      REDACTED VERSION OF DOCUMENT PROPOSED
19
                                    TO BE FILED UNDER SEAL
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       DECLARATION OF AARON S.                                        Case No. 4:19-cv-07123-PJH
       CRAIG
     Case 4:19-cv-07123-PJH           Document 396-7           Filed 09/27/24   Page 2 of 9




 1             I, Aaron S. Craig, declare as follows:

 2             1.     I am a member of the California State Bar and the bar of this court, a partner in the

 3    law firm of King & Spalding LLP, and counsel of record to Defendants NSO Group Technologies

 4    Limited and Q Cyber Technologies Limited (collectively, the “Defendants”). This Declaration is

 5    made in support of Defendants’ September 27, 2024, Motion to Dismiss or for Summary Judgment

 6    for lack of Personal Jurisdiction and for Partial Summary Judgment (the “Summary Judgment

 7    Motion”) and the related Administrative Motion to File Under Seal. I have personal knowledge

 8    of the facts set forth herein and, except as otherwise stated, could testify competently to each fact

 9    averred herein.

10             2.     The Complaint was filed October 29, 2019. (Dkt. No. 1.) Defendants were served

11    on March 12, 2020, and on April 2, 2020, Defendants moved to dismiss the complaint. (Dkt. No.

12    45.) Plaintiffs served a First Set of RFPs on June 4, 2020. This Court stayed discovery shortly

13    after Plaintiffs served their First Set of RFPs. After the stay ended, the Court held a status

14    conference at which it instructed the parties to meet and confer over the                         on

15    Plaintiffs’ RFPs and if the parties cannot resolve the issue, for Defendants to file a motion for

16    protective order.    The parties met and conferred but could not reach a resolution, forcing

17    Defendants to file a motion for protective order on March 30, 2023. On November 15, 2023, the

18    Court denied NSO’s motion for protective order. (Dkt. No. 233.) The parties have since conducted

19    substantial discovery, which has involved the exchange of highly confidential information and

20    materials, and are now filing dispositive motions.

21             3.     Defendants seek to file under seal documents (the “Sealed Documents”1) related to

22    and in connection with Defendants’ concurrently filed Summary Judgment Motion. Sealing of the

23    Sealed Documents was (and remains) necessary to

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26                                                                                 As is evidenced by the

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28    1
          The Sealed Documents are enumerated in paragraph 11, below.
          DECLARATION OF                                   1                    Case No. 4:19-cv-07123-PJH
          AARON S. CRAIG
Case 4:19-cv-07123-PJH   Document 396-7   Filed 09/27/24   Page 3 of 9
     Case 4:19-cv-07123-PJH        Document 396-7     Filed 09/27/24     Page 4 of 9




 1                                                  The request prohibited Defendants from

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 7                                                                     (Gelfand Decl. (Dkt. 133-6)

 8 Exh. B at 1-2.)

 9           5.      On July 19, 2020,

10                                                                (Gelfand Decl. (Dkt. 133-6), Exh.

11    D.)

12                                             (Id. at 1.)

13

14

15

16                                                                       (Id.)             authorized

17    the

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20                                                                          (Id. at 1-2.) The order

21    also authorized

22

23                                                                                (Id. at 3.)

24           6.      On July 19, 2020,

25                                                  (Gelfand Decl. (Dkt. 133-6) Exh. F.)

26    notified Defendants about the

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28
       DECLARATIOIN OF AARON S.                 3                        Case No. 4:19-cv-07123-PJH
       CRAIG
     Case 4:19-cv-07123-PJH         Document 396-7         Filed 09/27/24     Page 5 of 9




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 3                               including a prohibition on

 4

 5                 (Id. ¶ 2.)

 6           7.      On February 8, 2023,

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 8                                                            (Gelfand Decl. (Dkt. 133-6) Exh. D.) The

 9 purpose for this update, according to

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12           8.      On May 21, 2023,

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15             As soon as NSO                                                                           , it

16    filed and served them on June 13, 2023 (Dkt. 195-3 and 195-4.)                        is described

17    in paragraph 10 below.

18    (Dkt. 195-4, Order ¶ 3),

19

20                                                       (Dkt. 195-4, Order ¶ 4), and

21

22                                                                                 (Dkt. 195-4, Order ¶

23    5),                                                                                   (Dkt. 195-4,

24                  ¶ 3).

25          (Dkt. 195-4,                 ¶ 6).

26

27           9.      The information that Defendants seek to keep under seal regarding the

28                                                              At the time Defendants first received
       DECLARATIOIN OF AARON S.                      4                        Case No. 4:19-cv-07123-PJH
       CRAIG
     Case 4:19-cv-07123-PJH          Document 396-7          Filed 09/27/24      Page 6 of 9




 1

 2                                                                      (Gelfand Decl. (Dkt. 133-6) Exh. F

 3    ¶¶ 4-6.) Through their counsel in          Defendants

 4                                                         Defendants

 5                                                                        to allow disclosure of

 6             to this Court and to Plaintiffs’ counsel. In seeking the            Defendants

 7

 8

 9             authorizing Defendants to

10

11

12           10.      The                   (Dkt. 195-3)

13

14                 (Dkt. 195-3, ¶ 2.) The

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17                                                                                (Dkt. 195-3, ¶ 2(1)-(6).)

18    However, the

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22 (Dkt. 195-3 ¶ 4 (a)-(b)). As relevant here,

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26           11.      Defendants seek to file under seal: (1) certain language in the Declaration of Aaron

27 Craig filed concurrently with this Motion; (2) certain language on pages 2-8, 10-13, and 15-25 in

28 Defendants’ Motion to Dismiss or for Summary Judgment for Lack of Personal Jurisdiction and
    DECLARATIOIN OF AARON S.                  5                     Case No. 4:19-cv-07123-PJH
       CRAIG
     Case 4:19-cv-07123-PJH         Document 396-7        Filed 09/27/24      Page 7 of 9




 1    for Partial Summary Judgment (the “Summary Judgment Motion”), attached as Exhibit 1 to the

 2    Craig Declaration; (3) certain language in paragraphs 10, 12-15, 19-21 to the Declaration of Yaron

 3    Shohat in Support of the Summary Judgment Motion (the “Shohat Declaration”) and Exhibits A-

 4    E to the Shohat Declaration, collectively attached as Exhibit 2 to the Craig Declaration; (4) the

 5    Declaration of Terrence McGraw in Support of the Summary Judgment Motion (the “McGraw

 6    Declaration”) and Exhibit F to the McGraw Declaration, collectively attached as Exhibit 3 to the

 7    Craig Declaration; and (5) certain language in paragraphs 9-18 to the Declaration of Joseph A.

 8    Akrotirianakis in Support of the Summary Judgment Motion (the “Akro. Declaration”) and

 9    Exhibits G-W to the Akro. Declaration, collectively attached as Exhibit 4 to the Craig Declaration

10 (collectively referenced as the “Sealed Documents”).

11           12.     Compelling reason exists to seal each of the above-listed documents because certain

12 of the Sealed Documents come from or make reference to

13

14    which is entitled to deference.    Other of the Sealed Documents reflect the parties’ highly

15    confidential trade secrets and other business information, which the parties have designated as

16    Highly Confidential-Attorneys’ Eyes Only.

17                   a.     First, certain Sealed Documents relate to

18

19    As such, the Sealed Documents contain traditionally nonpublic government information for which

20    there is no constitutional right of access. See, e.g., N.Y. Times Co. v. U.S. Dep't of Justice, 806

21    F.3d 682, 688 (2d Cir. 2015) (“As a general rule, there is no constitutional right of access to

22    traditionally nonpublic government information.”) The fact that the documents were issued by

23                                                             and contain

24                                                      “alone counsels in favor of finding that there is

25    no presumptive public right of access” to these documents. Omari v. Ras Al Khaimah Free Trade

26    Zone Auth., 2017 WL 3896399, at *14 (S.D.N.Y. Aug. 18, 2017) (sealing a white paper

27    commissioned by a ruler of a political subdivision of foreign nation because it contained “highly

28    sensitive, traditionally nonpublic government information, in this case of a foreign government”);
       DECLARATIOIN OF AARON S.                      6                         Case No. 4:19-cv-07123-PJH
       CRAIG
     Case 4:19-cv-07123-PJH          Document 396-7        Filed 09/27/24      Page 8 of 9




 1    see also In re Terrorist Attacks on Sept. 11, 2001, , 2019 WL 3296959, at *5 (S.D.N.Y. July 22,

 2    2019) (sealing multiple documents and finding that the documents contained “traditionally

 3    nonpublic information” because the documents involved senior foreign officials, were designated

 4    as sensitive at the time of creation, and detailed information about the nation’s response to certain

 5    investigations).

 6                   b.      Second,

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11                                                                        Societe Nationale Industrielle

12    Aerospatiale v. U.S. Dist. Ct., 482 U.S. 522, 543 n. 27 (1987).

13                                                                                        United States v.

14 Sater, 2019 WL 3288289, at *4 (E.D.N.Y. July 22, 2019). This is particularly true where, as in

15 this case, the documents sought to be sealed

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24                   c.      Third, because

25                                          public disclosure of the Sealed Documents could

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28
       DECLARATIOIN OF AARON S.                       7                         Case No. 4:19-cv-07123-PJH
       CRAIG
     Case 4:19-cv-07123-PJH        Document 396-7        Filed 09/27/24       Page 9 of 9




 1

 2

 3                  d.      Additional Sealed Documents have been designated by Defendants and

 4    Plaintiffs as their highly confidential, attorneys’ eyes only material because they include trade

 5    secrets and highly sensitive business information. Courts have routinely held that confidential

 6    business information satisfies the higher “compelling reasons” standard. See In re Qualcomm

 7    Litig., 2017 WL 5176922, at *2 (S.D. Cal. Nov. 8, 2017) (concluding that the parties established

 8    compelling reasons to file under seal records that implicate “confidential business information”

 9    subject to confidentiality agreements); Jones v. PGA Tour, Inc., 2023 WL 7440303, at *2 (N.D.

10    Cal. May 18, 2023).

11           13.    Accordingly, a compelling reason exists to seal each of the above-listed documents,

12    and Defendants respectfully request that the Court grant the accompanying Administrative Motion

13    to File Under Seal and order the Sealed Documents be kept under seal.

14           14.    The Declarant has carefully sought sealing of only those parts of this Declaration

15    and the exhibits thereto as are necessary to comply with other legal obligations binding on

16    Defendants, as described above, and, on behalf of Defendants, respectfully submits that the

17    compelling reasons standards are met with respect to the Sealed Documents.

18

19           I declare under penalty of perjury and the laws of the United States that the foregoing is

20    true and correct this 27th day of September 2024, at Los Angeles, California.

21

22                                     /s/ Aaron S. Craig
                                           AARON S. CRAIG
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       DECLARATIOIN OF AARON S.                      8                        Case No. 4:19-cv-07123-PJH
       CRAIG
